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                               UNITED STATES DISTRICT COURT
                                  DISTRICT OF NEW MEXICO

WELCOME PROPERTIES 201, LLC,

               Plaintiff,

v.                                                  No. 16-cv-01301 JCH/SMV

NATIONAL FIRE & MARINE
INSURANCE COMPANY,

               Defendant.

                             MEMORANDUM OPINION AND ORDER

       On February 8, 2017, Defendant National Fire & Marine Insurance Company

(“Defendant”) filed a Memorandum Motion to Bifurcate and Stay Discovery Regarding Extra-

Contractual Claims (ECF No. 13). The Court, having considered the pleadings, motion, briefs,

and relevant law, concludes that the motion should be denied.

       I.      BACKGROUND

       This case arises out of a dispute over a property insurance claim. Plaintiff Welcome

Properties 201, LLC (“Plaintiff”) alleges it owns a property located at 201 E University, Las

Cruces, New Mexico (“the Property”), for which Defendant issued an insurance policy (“the

Policy”) to pay for direct physical loss or damage to the Property caused by or resulting from any

covered loss. See Second Am. Compl. ¶¶ 8-10, ECF No. 24. Plaintiff contends that on or about

October 3, 2015, while policy number 12 PRM002189-02 was in effect, and again on May 18,

2016, while renewed policy number 12 PRM002189-03 was in effect, the Property was directly

and physically damaged by wind and hail, a covered loss. See id. ¶ 9, 14, 25. Plaintiff asserts

that, despite paying all premiums, giving prompt notice to Defendant of the loss and damage,

submitting a claim for loss, and cooperating with Defendant’s investigation, Defendant failed to
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pay Plaintiff for its losses and damages in breach of the express terms of the policy and in breach

of the covenant of good faith and fair dealing. See id. ¶¶ 14-34.

       In addition to asserting breach of contract and breach of the covenant of good faith and

fair dealing in Counts I and II, Plaintiff further alleges that Defendant acted in bad faith and

breached its fiduciary duty of good faith and fair dealing under the Policy (Counts III and IV),

violated the Unfair Trade Practices Act (Counts V and VI), and violated the New Mexico

Insurance Code (Counts VII and VIII). See id. ¶¶ 35-62. Defendant moves to bifurcate and stay

the extra-contractual claims asserted in Counts III through VIII until there has been a

determination as to the amount of damages due, if any, under the Policy.

       II.     STANDARD

       “For convenience, to avoid prejudice, or to expedite and economize, the court may order

a separate trial of one or more separate issues, [or] claims…” Fed. R. Civ. P. 42(b). A district

court has broad discretion in determining whether to sever claims for trial. Easton v. City of

Boulder, 776 F.2d 1441, 1447 (10th Cir. 1985). Bifurcation may be in the interest of efficiency

and judicial economy when the issues are clearly separable or resolution of one claim obviates

the need to adjudicate other claims. See Mandeville v. Quinstar Corp., 109 F. App’x 191, 194

(10th Cir. July 14, 2004).

       III.    ANALYSIS

       Although a determination of Counts I and II in favor of Defendant would dispose of the

extra-contractual claims, Defendant has not established that convenience, efficiency, or prejudice

to Defendant warrants separate trials. In this case, the breach of contract claims involve whether

the Property sustained wind and hail damage in the amount claimed by Plaintiff, while the extra-

contractual claims involve the fairness and reasonableness of the investigation, of Defendant’s



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determination of the amount of damages to the Property, and of its denial of Plaintiff’s claims for

damages. See NM UJI 13-1702 (“In deciding whether to pay a claim, the insurance company

must act reasonably under the circumstances to conduct a timely and fair [investigation or

evaluation] of the claim.”). Defendant has not convinced the Court that there will be no overlap

in evidence and testimony between Counts I and II and Counts III through XIII that compels

bifurcation. There are similar factual underpinnings between the contractual and extra-

contractual claims – the amount of the damages caused by the wind and hail and whether

Defendant’s determination of the amount of covered loss was reasonable. If a jury determines

there was a breach of contract, evidence regarding the damages would be presented twice.

Bifurcation and stay would require the parties to restart discovery, thus prolonging the course of

the case.

       Moreover, any potential prejudice in a joint trial is minimal and could be cured through

appropriate jury instructions or other means. Bifurcating and staying discovery at this stage is not

in the interest of efficiency and is not necessary to avoid prejudice.

       IT IS THEREFORE ORDERED that Defendant National Fire & Marine Insurance

Company’s Memorandum Motion to Bifurcate and Stay Discovery Regarding Extra-Contractual

Claims (ECF No. 13) is DENIED.



                                                      ____________________________________
                                                      UNITED STATES DISTRICT JUDGE




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